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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

 LEIGH REED-PRATT,                                Case No. 20-cv-12129
         Plaintiff,                               Hon. Robert H. Cleland

 v.

 JANICE WINFREY, in her official and individual capacities as the
 Detroit City Clerk,
 DETROIT ELECTION COMMISSION, and
 DETROIT DEPARTMENT OF ELECTIONS,
            Defendants.
 _________________________________________________________________/
 ANDREW A. PATERSON (P18690)
 Attorney for Plaintiff
 2893 E. Eisenhower Pkwy
 Ann Arbor, MI 48108
 (248) 568-9712
 aap43@outlook.com
 ________________________________________________________________/

             AMENDED COMPLAINT AND JURY DEMAND

        NOW COMES Plaintiff, LEIGH REED-PRATT, by and through

 her attorney, ANDREW A. PATERSON, and for her Amended

 Complaint and Jury Demand (“Amended Complaint”), states as follows:

                  I.   NATURE OF PLAINTIFF’S CLAIMS

      1. Plaintiff’s claims are brought pursuant to 42 U.S.C. § 1983; 28

        U.S.C. §§ 1331, 1337, 1343, and 1367; and, the Declaratory

        Judgment Act, 28 U.S.C. § 2201, et. seq.


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                      II. JURISDICTION AND VENUE

     2. This Court has jurisdiction over Plaintiff’s claims pursuant to 42

       U.S.C. 1983; 28 U.S.C. §§ 1331, 1332, 1337, 1343, and 1367.

     3. This Court also has jurisdiction to render and issue a declaratory

       judgment pursuant to the Declaratory Judgment Act, 28 U.S.C. §

       2201, et. seq.

     4. Venue is proper in the Eastern District of Michigan under 28

       U.S.C. § 1391(b)(1). Under 28 U.S.C. § 1391(b)(1), venue is proper

       in “a judicial district in which any defendant resides, if all

       defendants are residents of the State in which the district is

       located.” Upon information and belief, all of the named

       Defendants are residents of the State of Michigan or have a place

       of business in the State of Michigan, and at least one of the

       Defendants reside in the Eastern District of Michigan. Therefore,

       venue is proper within the Eastern District of Michigan under 28

       U.S.C. § 1391(b)(1).1

 1 Under 28 U.S.C. § 1391(b)(1) venue is proper in “a judicial district in which any
 defendant resides, if all defendants are residents of the State in which the district is
 located.” Furthermore, under 28 U.S.C. § 1391(c)(2), a corporation is deemed to reside
 “in any judicial district in which such defendant is subject to the court’s personal
 jurisdiction.” The determination of the proper venue for a civil action in federal court
 is “generally governed by 28 U.S.C. 1391.” Atlantic Marine Const. Co. v U.S. District.
 Court for W.Dist. of Texas, 571 U.S. 49, 55 (2013). “[T]he court must determine

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    5. All events giving rise to the causes of action pleaded and alleged

       herein occurred in the Eastern District of Michigan.

                                      III.    PARTIES

    6. Plaintiff repeats, realleges and incorporates, the foregoing

       allegations, as though fully set forth and stated herein.

    7. Plaintiff, Leigh Reed-Pratt (“Plaintiff Reed-Pratt” or

       “Plaintiff”), is a resident and registered voter of the City of

       Detroit, County of Wayne, State of Michigan. Plaintiff Reed-Pratt

       voted in the August 4, 2020 primary election.

    8. Defendant, Janice Winfrey (“Defendant City Clerk” or

       “Defendant Winfrey”), is the duly elected City Clerk for the City

       of Detroit. Defendant City Clerk has served continuously as the

       elected City Clerk for the City of Detroit since January 1, 2006.

    9. Defendant, Detroit Department of Elections (“Defendant

       Department of Elections”) is a department created by §3-101 of

       the 2012 Detroit City Charter that is charged with the

       responsibility to plan, monitor, and administer all elections in the




 whether the case falls within one of the three categories set out in 1391(b). If it does,
 venue is proper[.]” Id. at 55.

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      City of Detroit. The Defendant Department of Elections is headed

      by the Defendant Detroit Election Commission.

    10.     Defendant, Detroit Election Commission (“Defendant City

      Election Commission”), pursuant to §3-102 of the 2012 Detroit

      City Charter, oversees the Defendant Department of Elections and

      is composed of the Defendant City Clerk, who serves as it

      Chairperson; the President of the Detroit City Council (Brenda

      Jones); and the Corporation Counsel for the City of Detroit

      (Lawrence Garcia).

    11.     An actual controversy exists between the Plaintiff and the

      named Defendants.

                          CAUSES OF ACTION

                                 COUNT I

  Plaintiff Reed-Pratt’s Procedural and Substantive Due Process
   Rights Were Violated By City of Detroit Defendants With The
  Unilateral Mailing of Unsolicited Absentee Voter Application.

    12.     Plaintiffs repeat, reallege and incorporate, the foregoing

      allegations, as though fully set forth and stated herein.

    13.     This claim is being brought by Plaintiff Reed-Pratt against

      Defendants Janice Winfrey, in her official and individual capacities,


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      Detroit Election Commission, and Detroit Department of Elections

      (collectively referred to herein as “City of Detroit Defendants”)

      pursuant to 42 U.S.C. § 1983 and the Declaratory Judgment Act,

      28 U.S.C. § 2201, et. seq.

    14.     On August 4, 2020, Plaintiff Reed-Pratt voted in the

      democratic primary election.

    15.     Plaintiff Reed-Pratt physically went to her assigned polling

      location in the City of Detroit and voted in person in the primary

      election held on August 4, 2020.

    16.     Plaintiff Reed-Pratt did not vote by absentee ballot in the

      August 4, 2020 primary election.

    17.     On or about June 3, 2020, Plaintiff Reed-Pratt, called and

      advised well-known political and community Activist Robert Davis

      that she had just received an unsolicited absentee voter

      application through the mail from the Defendants Winfrey, City

      Election Commission and Department of Elections, along with a

      prepaid postage envelope for the mailing back of her absentee

      voter application. (See Unsolicited Absentee Voter




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      Application and Letter Plaintiff Reed-Pratt received

      attached as Exhibit A).

    18.     Plaintiff Reed-Pratt further advised Robert Davis that

      Plaintiff Reed-Pratt did not request, verbally or in writing, for the

      Defendants Winfrey, City of Election Commission and

      Department of Elections to send Plaintiff Reed-Pratt an absentee

      voter application for the upcoming August 2020 primary and the

      November 2020 general elections.

    19.     The absentee voter application Plaintiff Reed-Pratt received

      in the mail at her home on June 3, 2020 from the Defendants

      Winfrey, City Election Commission, and Department of Elections

      was unsolicited!

    20.     Defendants Winfrey, City Election Commission and

      Department of Elections’ letter, which is dated May 2020, is

      addressed to “Detroit Voter” and further advised Plaintiff Reed-

      Pratt how to fill out the unsolicited absentee voter application

      that was enclosed and advised Plaintiff Reed-Pratt to use the

      postage prepaid envelope to return the unsolicited absentee

      voter application. (See Defendants’ Letter and Unsolicited


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      Absentee Voter Application mailed to Plaintiff Reed-Pratt

      attached as Exhibit A).

    21.     The Defendants Winfrey, City Election Commission, and

      Department of Elections’ actions of mailing out unsolicited

      absentee voter applications to Plaintiff Reed-Pratt and other

      registered voters in the City of Detroit were unlawful and violates

      Mich. Comp. Laws §168.759(5) and the Michigan Court of Appeals’

      holding in Taylor v Currie, 277 Mich. App. 85; 743 NW2d 571

      (2007), lv denied, 483 Mich. 907; 762 NW 2d 169 (2009).

    22.     The City of Detroit Defendants’ unlawful actions of mailing

      unsolicited absentee voter applications were arbitrary and

      capricious and in violation of state law.

    23.     Proof that the City of Detroit Defendants’ unlawful actions

      were arbitrary and capricious is the fact that since the Michigan

      Court of Appeals’ ruling in Taylor v Currie, supra, the City of

      Detroit Defendants have NEVER mailed unsolicited absentee

      voter applications to all registered voters in the City of Detroit.

    24.     In fact, the approved minutes from the Defendant City

      Election Commission’s May 14, 2020 meeting further illustrates


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      that the City of Detroit Defendants’ unlawful actions of mailing

      unsolicited absentee voter applications to Plaintiff Reed-Pratt

      and other registered voters in the City of Detroit were arbitrary

      and capricious. (See Defendant City Election Commission’s

      Approved Minutes from May 14, 2020 Meeting attached as

      Exhibit B).

    25.     The approved minutes from the Defendant City Election

      Commission’s May 14, 2020 meeting further illustrates that the

      City of Detroit Defendants had deliberate intentions to ignore and

      violate Michigan Election Law and the Michigan Court of Appeals’

      holding in Taylor v Currie, supra, and mail unsolicited absentee

      voter applications to Plaintiff Reed-Pratt and other registered

      voters in the City of Detroit due to the COVID-19 pandemic.

      (Exhibit B).

    26.     However, although the City of Detroit Defendants’ intentions

      were well-intended, the COVID-19 pandemic does not authorize

      the City of Detroit Defendants to violate Michigan Election Law or

      binding court orders.




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    27.     Under Mich.Const.1963, art. 2, § 4(1)(g), Plaintiff Reed-Pratt

      has a constitutional right to vote by absentee ballot without

      having to provide a reason.

    28.     Under Mich.Const.1963, art. 2, § 4(1)(g), Plaintiff Reed-Pratt

      has a constitutional right to apply to vote by absentee ballot in

      any election held in the City of Detroit.

    29.     Under Michigan Election Law, a registered voter must first

      request, either verbally or in writing, from their local city or

      township clerk an application to vote by absentee ballot.

    30.     Under Mich. Comp. Laws §168.759(5), Plaintiff Reed-Pratt

      has a statutory right to request, either verbally or in writing, an

      absentee voter application from the Defendant Winfrey.

    31.     However, neither the state constitution nor any provision of

      Michigan Election Law grants the Defendant Winfrey or any of

      the other City of Detroit Defendants the right to mail an

      unsolicited absentee voter application to Plaintiff Reed-Pratt.

    32.     Under Michigan’s Constitution and Michigan Election Law,

      it is Plaintiff Reed-Pratt’s right to choose whether to request,




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       either verbally or in writing, an absentee voter application from

       the Defendant Winfrey.

    33.      As noted, under Mich.Const. 1963, art. 2, §4(1)(g) and Mich.

       Comp. Laws §168.759(4), in order for a registered voter to vote by

       absentee ballot in any election, the registered voter must first

       request, either verbally or in writing, from their local city or

       township clerk an absentee voter application.

    34.      Plaintiff Reed-Pratt was denied by the Defendants Winfrey,

       City Election Commission and Department of Elections of her

       state constitutional and statutory right to request, either verbally

       or in writing, an absentee voter application from the Defendant

       Winfrey.

    35.      Because Plaintiff Reed-Pratt believed that the Defendants

       Winfrey, City Election Commission and Department of Elections’

       actions of mailing an unsolicited absentee voter application to

       Plaintiff Reed-Pratt were unlawful and illegal, Plaintiff Reed-

       Pratt did not feel comfortable using the unsolicited absentee

       voter application the City of Detroit Defendants mailed her.




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    36.      Because the City of Detroit Defendants sent an unsolicited

       absentee voter application to the Plaintiff, Plaintiff could not

       request a new absentee voter application from the City of Detroit

       Defendants.

    37.      Plaintiff was told she had to use the unsolicited absentee

       voter application that was sent to her by the City of Detroit

       Defendants if Plaintiff wanted to vote by absentee in the August 4,

       2020 primary election.

    38.      Instead, Plaintiff Reed-Pratt chose to vote in person for the

       primary election held on August 4, 2020.

    39.      Based upon the conversations Plaintiff Reed-Pratt overheard

       being held amongst election inspectors/workers in the voting

       precinct, Plaintiff Reed-Pratt believes Defendants Winfrey, City

       Election Commission and Department of Elections will attempt to

       mail unsolicited absentee voter applications to registered

       voters in the City of Detroit for the upcoming November 3, 2020

       presidential general election.

    40.      Political and community activist Robert Davis was recently

       told confidentially by political insiders that Defendant Winfrey


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       will be mailing out unsolicited absentee voter applications to

       registered voters in the City of Detroit who voted “in person” at

       the August 4, 2020 primary election and/or did not return an

       absentee voter application to vote by absentee ballot for the

       impending November 3, 2020 presidential general election.

    41.      The City of Detroit Defendants, individually and collectively,

       denied Plaintiff Reed-Pratt her due process rights by denying

       Plaintiff Reed-Pratt her state constitutional and statutory right to

       choose whether to request, either verbally or in writing, an

       absentee voter application from the Defendant Winfrey.

    42.      Defendants Winfrey, City Election Commission and

       Department of Elections’ unlawful actions denied Plaintiff Reed-

       Pratt her procedural due process rights as guaranteed under the

       Fourteenth Amendment of the United States Constitution.

    43.      Defendants Winfrey, City Election Commission and

       Department of Elections’ unlawful actions denied Plaintiff Reed-

       Pratt her substantive due process rights as guaranteed under the

       Fourteenth Amendment of the United States Constitution.




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       WHEREFORE, Plaintiff Reed-Pratt requests this Court enters

 judgment against Defendants Winfrey, City Election Commission, and

 Department of Elections as follows:

             a. compensatory damages in whatever amount above
                $75,000.00 Plaintiffs are found to be entitled;
             b. an award of exemplary and punitive damages;
             c. an award of interest, costs and reasonable attorney fees
                under 42 USC §1988;
             d. a declaration that Plaintiff Reed-Pratt’s procedural due
                process rights have been violated by Defendants Winfrey,
                City Election Commission, and Department of Elections;
             e. a declaration that Plaintiff Reed-Pratt’s substantive due
                process rights have been violated by Defendants Winfrey,
                City Election Commission, and Department of Elections;
             f. a declaration that Defendants Winfrey, City Election
                Commission, and Department of Elections do not have the
                authority under Michigan’s Constitution and/or Michigan
                Election Law to mail unsolicited absentee voter
                applications to registered voters in the City of Detroit;
             g. an injunction enjoining the Defendants Winfrey, City
                Elections Commission and Department of Elections from
                mailing unsolicited absentee voter applications to
                registered voters in the City of Detroit; and
             h. an order awarding whatever other equitable relief appears
                appropriate at the time of final judgment.


                            COUNT II
    State Law Claim-Declaratory Judgment Declaring City of
   Detroit Defendants Violated Mich. Comp. Laws §168.759(5) By
   Mailing Unsolicited Absentee Voter Applications To Plaintiff
       and Other Registered Voters In The City of Detroit.




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    44.      Plaintiff repeats, realleges and incorporates, the foregoing

       allegations, as though fully set forth and stated herein.

    45.      This state-law claim for declaratory judgment is being

       brought by Plaintiff Reed-Pratt against Defendants Winfrey, City

       Election Commission and Department of Elections (collectively

       referred to herein as “City of Detroit Defendants”) pursuant to

       MCR 2.605.

    46.      This Court has the discretion under 28 U.S.C. §1367 to

       exercise supplemental jurisdiction over Plaintiff Reed-Pratt’s state-

       law claim.

    47.      This claim for declaratory judgment under Michigan law is

       being brought by Plaintiff Reed-Prat, as an individual and

       registered voter of the City of Detroit, against Defendants Winfrey,

       City Election Commission, and Department of Elections.

    48.      An actual controversy exists between Plaintiff and

       Defendants.

    49.      On or about June 3, 2020, Plaintiff Reed-Pratt, called and

       advised well-known political and community Activist Robert Davis

       that she had just received an unsolicited absentee voter


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       application through the mail from the Defendants Winfrey, City

       Election Commission and Department of Elections, along with a

       prepaid postage envelope for the mailing back of her absentee

       voter application. (See Unsolicited Absentee Voter

       Application and Letter Plaintiff Reed-Pratt received

       attached as Exhibit A).

    50.      Plaintiff Reed-Pratt further advised Robert Davis that

       Plaintiff Reed-Pratt did not request, verbally or in writing, for the

       Defendants Winfrey, City of Election Commission and

       Department of Elections to send Plaintiff Reed-Pratt an absentee

       voter application for the upcoming August 2020 primary and the

       November 2020 general elections.

    51.      The absentee voter application Plaintiff Reed-Pratt received

       in the mail at her home on June 3, 2020 from the Defendants

       Winfrey, City Election Commission, and Department of Elections

       was unsolicited!

    52.      Defendants Winfrey, City Election Commission and

       Department of Elections’ letter, which is dated May 2020, is

       addressed to “Detroit Voter” and further advised Plaintiff Reed-


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       Pratt how to fill out the unsolicited absentee voter application

       that was enclosed and advised Plaintiff Reed-Pratt to use the

       postage prepaid envelope to return the unsolicited absentee

       voter application. (See Defendants’ Letter and Unsolicited

       Absentee Voter Application mailed to Plaintiff Reed-Pratt

       attached as Exhibit A).

    53.      The Defendants Winfrey, City Election Commission, and

       Department of Elections’ actions of mailing out unsolicited

       absentee voter applications to Plaintiff Reed-Pratt and other

       registered voters in the City of Detroit were unlawful and violates

       Mich. Comp. Laws §168.759(5) and the Michigan Court of Appeals’

       holding in Taylor v Currie, 277 Mich. App. 85; 743 NW2d 571

       (2007), lv denied, 483 Mich. 907; 762 NW 2d 169 (2009).

    54.      The City of Detroit Defendants’ unlawful actions of mailing

       unsolicited absentee voter applications were arbitrary and

       capricious and in violation of state law.

    55.      Proof that the City of Detroit Defendants’ unlawful actions

       were arbitrary and capricious is the fact that since the Michigan

       Court of Appeals’ ruling in Taylor v Currie, supra, the City of


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       Detroit Defendants have NEVER mailed unsolicited absentee

       voter applications to all registered voters in the City of Detroit.

    56.      In fact, the approved minutes from the Defendant City

       Election Commission’s May 14, 2020 meeting further illustrates

       that the City of Detroit Defendants’ unlawful actions of mailing

       unsolicited absentee voter applications to Plaintiff Reed-Pratt

       and other registered voters in the City of Detroit were arbitrary

       and capricious. (See Defendant City Election Commission’s

       Approved Minutes from May 14, 2020 Meeting attached as

       Exhibit B).

    57.      The approved minutes from the Defendant City Election

       Commission’s May 14, 2020 meeting further illustrates that the

       City of Detroit Defendants had deliberate intentions to ignore and

       violate Michigan Election Law and the Michigan Court of Appeals’

       holding in Taylor v Currie, supra, and mail unsolicited absentee

       voter applications to Plaintiff Reed-Pratt and other registered

       voters in the City of Detroit due to the COVID-19 pandemic.

       (Exhibit B).




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    58.      However, although the City of Detroit Defendants’ intentions

       were well-intended, the COVID-19 pandemic does not authorize

       the City of Detroit Defendants to violate Michigan Election Law or

       binding court orders.

       WHEREFORE, Plaintiff Reed-Pratt requests this Court to enter

 judgment against Defendants Winfrey, Department of Elections and

 City Election Commission as follows:

       a. Enters an order declaring Defendants Winfrey, City Election
          Commission and Department of Elections violated Mich. Comp.
          Laws §168.759(5) by mailing an unsolicited absentee voter
          application to Plaintiff in June 2020;
       b. Enters an order declaring Defendants Winfrey, City Election
          Commission and Department of Elections violated the Wayne
          County Circuit Court’s March 23, 2006 permanent injunction
          order entered in the case of Taylor v Currie by mailing an
          unsolicited absentee voter application to Plaintiff in June 2020;
       c. Enters an order enjoining the Defendants from mailing
          unsolicited absentee voter applications to Plaintiff and other
          registered voters in the City of Detroit;
       d. Enters an order awarding Plaintiff Reed-Pratt court costs and
          attorney fees; and
       e. Enters an order awarding whatever other relief appears
          appropriate to the Court at the time of final judgment.




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                           COUNT III
  State Law Claim-Writ of Mandamus Compelling City of Detroit
  Defendants To Comply With Mich. Comp. Laws §168.759(5) and
  Compelling City of Detroit Defendants Not To Mail Unsolicited
  Absentee Voter Applications To Plaintiff and Other Registered
                  Voters In The City of Detroit.

    59.      Plaintiff repeats, realleges and incorporates, the foregoing

       allegations, as though fully set forth and stated herein.

    60.      This state-law claim for writ of mandamus is being brought

       by Plaintiff Reed-Pratt against Defendants Winfrey, City Election

       Commission and Department of Elections (collectively referred to

       herein as “City of Detroit Defendants”) pursuant to MCR 3.305.

    61.      This Court has the discretion under 28 U.S.C. §1367 to

       exercise supplemental jurisdiction over Plaintiff Reed-Pratt’s state-

       law claim.

    62.      This claim for writ of mandamus under Michigan law is being

       brought by Plaintiff Reed-Prat, as an individual and registered

       voter of the City of Detroit, against Defendants Winfrey, City

       Election Commission, and Department of Elections.

    63.      For the reasons set forth herein, pursuant to MCR 3.305(C),

       Plaintiff will seek the issuance of an ex parte order to show cause




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       for the City of Detroit Defendants to show cause why a writ of

       mandamus should not issue.

    64.      Because Plaintiff Reed-Pratt believed that the Defendants

       Winfrey, City Election Commission and Department of Elections’

       actions of mailing an unsolicited absentee voter application to

       Plaintiff Reed-Pratt were unlawful and illegal, Plaintiff Reed-

       Pratt did not feel comfortable using the unsolicited absentee

       voter application the City of Detroit Defendants mailed her for

       the August 4, 2020 primary election.

    65.      Instead, Plaintiff Reed-Pratt chose to vote in person for the

       primary election held on August 4, 2020.

    66.      Based upon the conversations Plaintiff Reed-Pratt overheard

       being held amongst election inspectors/workers in the voting

       precinct, Plaintiff Reed-Pratt believes Defendants Winfrey, City

       Election Commission and Department of Elections will attempt to

       mail unsolicited absentee voter applications to registered

       voters in the City of Detroit for the upcoming November 3, 2020

       presidential general election.




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    67.      Political and community activist Robert Davis was recently

       told confidentially by political insiders that Defendant Winfrey

       will be mailing out unsolicited absentee voter applications to

       registered voters in the City of Detroit who voted “in person” at

       the August 4, 2020 primary election and/or did not return an

       absentee voter application to vote by absentee ballot for the

       impending November 3, 2020 presidential general election.

    68.      Plaintiff believes the City of Detroit Defendants will attempt

       to violate the law and mail unsolicited absentee voter applications

       for the upcoming November 3, 2020 presidential general elections.

    69.      Plaintiff believes City of Detroit Defendants’ actions would

       violate Mich. Comp. Laws §168.759(5).

    70.      A writ of mandamus is necessary to compel the City of Detroit

       Defendants’ compliance with Mich. Comp. Laws §168.759(5).

    71.      Plaintiff has a clear legal right to the performance of the duty

       being sought.

    72.      City of Detroit Defendants have a clear legal duty to perform

       the duty being sought to be compelled.




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    73.      The duty is ministerial in nature and Plaintiff has no other

       adequate remedy at law to compel the City of Detroit Defendants to

       comply with Mich. Comp. Laws §168.759(5) for the upcoming

       November 3, 2020 presidential general election.

       WHEREFORE, Plaintiff Reed-Pratt requests this Court enters

 judgment against Defendants Winfrey, City Election Commission, and

 Department of Elections as follows:

          a. Issue a writ of mandamus compelling Defendants Winfrey,
             City Election Commission, and Department of Elections to
             comply with Mich. Comp. Laws §168.759(5);

          b. Issue a writ of mandamus compelling Defendants Winfrey,
             City Election Commission, and Department of Elections not
             to send Plaintiff and other registered voters in the City of
             Detroit unsolicited absentee voter applications for the
             upcoming November 3, 2020 presidential general election;

          c. Issue an order to show cause pursuant to MCR 3.305(C) for
             Defendants to show cause why a writ of mandamus should not
             issue; and

          d. Order awarding whatever other relief appears appropriate at
             the time of final judgment.




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 Dated: August 14, 2020              Respectfully submitted,

                                     /s/ ANDREW A. PATERSON
                                    ANDREW A. PATERSON (P18690)
                                    Attorney for Plaintiff
                                    2893 E. Eisenhower Pkwy
                                    Ann Arbor, MI 48108
                                    (248) 568-9712
                                     aap43@outlook.com


                             JURY DEMAND
       Plaintiff, through counsel, respectfully demands a jury trial on all

 issues triable to a jury.

  Dated: August 14, 2020             Respectfully submitted,
                                    /s/ ANDREW A. PATERSON
                                    ANDREW A. PATERSON (P18690)
                                    Attorney for Plaintiffs
                                    2893 E. Eisenhower Pkwy
                                    Ann Arbor, MI 48108
                                    (248) 568-9712
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                  CERTIFICATE OF SERVICE
       I, ANDREW A. PATERSON, certify that the foregoing

 document(s) was filed and served via the Court's electronic case filing

 and noticing system (ECF) this 14th day of August, 2020, which will

 automatically send notification of such filing to all attorneys and parties

 of record registered electronically.

                                    Respectfully submitted,

                                    /s/ ANDREW A. PATERSON
                                    ANDREW A. PATERSON (P18690)
                                    Attorney for Plaintiff




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